Case 1:18-cv-00502-JAO-KJM Document 29 Filed 06/07/19 Page 1 of 1             PageID #: 604



                                        MINUTES



   CASE NUMBER:             1:18-cv-00502 JAO-WRP
   CASE NAME:               Ya-Wen Hsiao v. Alexander Acosta
   ATTYS FOR PLA:           Ya-Wen Hsiao, Pro Se
   ATTYS FOR DEFT:          Samuel Go


         JUDGE:      Jill A. Otake                 REPORTER:      Ann Matsumoto

         DATE:       06/07/2019                    TIME:          10:50am-11:40am


  COURT ACTION: EP: Hearing on [13] Defendant’s Motion to Dismiss and [23]
  Plaintiff’s Request for Censure and Order to Show Cause was held.

  Discussion held with Plaintiff Ya-Wen Hsiao and Plaintiff’s husband, Bryan Feliciano
  regarding interpretation during oral argument.

  Oral arguments heard.

  [13] Defendant’s Motion to Dismiss - TAKEN UNDER ADVISEMENT

  [23] Plaintiff’s Request for Censure and Order to Show Cause Court to Issue a Written
  Order - TAKEN UNDER ADVISEMENT.

  Court to issue a written order.




  Submitted by: Shelli Mizukami, Courtroom Manager
